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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

 PEOPLE FOR THE ETHICAL                        )
 TREATMENT OF ANIMALS, INC.,                   )
                                               )
                Plaintiff,                     )
                                               )     Case No. CIV-20-612-PRW
 v.                                            )
                                               )
 LAUREN LOWE,                                  )
                                               )
                Defendant.                     )


          PLAINTIFF PEOPLE FOR THE ETHICAL TREATMENT OF
      ANIMALS, INC.’S RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Plaintiff, People for the Ethical Treatment of Animals, Inc. (“PETA”), through its

undersigned counsel, hereby files its Corporate Disclosure Statement, pursuant to Fed. R.

Civ. P. 7.1.

       1.      PETA does not have a parent corporation.

       2.      No publicly held corporation owns 10% or more of the stock of PETA.

                                                   Respectfully submitted,

                                                   /s/ Heather L. Hintz
                                                   Heather L. Hintz, OBA No. 14253
                                                   Mark E. Hornbeek, OBA No. 33198
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                                 and

                                 Asher Smith (pro hac vice pending)
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                              Ethical Treatment of Animals, Inc.




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